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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE APPLICATION OF TATIANA
 AKHMEDOVA,
                       APPLICANT,                               19-mc-26 (JPO)

                     -v-                                            ORDER

 REQUEST FOR DISCOVERY
 PURSUANT TO 28 U.S.C. § 1782.



J. PAUL OETKEN, District Judge:

       On July 30, 2020, counsel for non-party Y.CO NY Inc. filed a letter in connection with

Applicant’s motion to compel (Dkt. No. 36), seeking leave to submit a three-page letter response

to Applicant’s reply memorandum (Dkt No. 35).

       Y.Co NY Inc.’s request is GRANTED. Y.CO NY Inc. shall file a letter response of no

more than three pages on or before August 3, 2020.

       SO ORDERED.

Dated: July 30, 2020
       New York, New York

                                            ____________________________________
                                                       J. PAUL OETKEN
                                                   United States District Judge
